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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNTIED STATES OF AMERICA,
          Plaintiff,
                                                    Case No. 05-80722-1
v.
                                                    Honorable Patrick J. Duggan
GREGORY McCLAIN,
         Defendant.
                                          /

                    ORDER DENYING PETITIONER’S MOTION
                    FOR A CERTIFICATE OF APPEALABILITY

                      At a session of said Court, held in the U.S. District
                       Courthouse, City of Detroit, County of Wayne,
                            State of Michigan on October 26, 2009.

                     PRESENT: HONORABLE PATRICK J. DUGGAN
                           U.S. DISTRICT COURT JUDGE

       This matter is before the Court on Defendant’s motion for a certificate of

appealability concerning the Court’s denial of Defendant’s motion under 28 U.S.C. §

2255 challenging the length of his sentence. Before Petitioner may appeal this Court’s

dispositive decision, a certificate of appealability must issue. 28 U.S.C. § 2253(c)(1)(a);

Fed. R. App. P. 22(b). A certificate of appealability may issue “only if the applicant has

made a substantial showing of the denial of a constitutional right.” 28 U.S.C. §

2253(c)(2).

       When a federal district court rejects a § 2255 motion on the merits, the substantial

showing threshold is met if the applicant demonstrates “that reasonable jurists would find


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the district court’s assessment of the constitutional claim debatable or wrong.” Slack v.

McDaniel, 529 U.S. 473, 484, 120 S. Ct. 1595, 1604 (2000). An applicant “satisfies this

standard by demonstrating that . . . jurists could conclude the issues presented are

adequate to deserve encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S.

322, 327, 123 S. Ct. 1029, 1034 (2003). In applying this standard, a district court may not

conduct a full merits review, but must limit its examination to a threshold inquiry into the

underlying merit of the applicant’s claims. Id. at 336-37.

       In the underlying motion, Defendant asserted that the government attorney on his

case engaged in prosecutorial misconduct by advocating a sentencing guideline range

higher than that contained in his Rule 11 plea agreement and that defense counsel was

ineffective. Defendant seeks a certificate of appealability regarding his claim of

prosecutorial misconduct and his ineffective assistance claim, but only to the extent that

the latter claim is based on counsel’s alleged failure to object to the alleged prosecutorial

misconduct. Having considered the matter, the Court concludes that reasonable jurists

would not find the Court’s denial of relief debatable or wrong. Although the Court stated

at sentencing that a higher guideline range actually applied to Defendant’s case than the

range agreed upon in the Rule 11 agreement, the government attorney did not advocate

for the higher range—and therefore did not breach the agreement—and defense counsel

argued against the higher range. Furthermore, the Court ultimately sentenced Defendant

to a terms of months contemplated by the agreed upon sentencing guideline range. For

these reasons, the Court concludes that Defendant has failed to make a substantial

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showing of the denial of a constitutional right. Accordingly, the Court DENIES his

motion for a certificate of appealability.

       IT IS SO ORDERED.




                                                 s/PATRICK J. DUGGAN
                                                 UNITED STATES DISTRICT JUDGE

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